

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,730






EX PARTE STEPHEN RAY SMITH, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. W9912-1 IN THE 355 DISTRICT COURT


FROM HOOD COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of theft and
sentenced to ninety-nine (99) years' imprisonment. 

	Applicant contends that his counsel rendered ineffective assistance because he failed to timely
file a notice of appeal.  We remanded this application to the trial court for findings of fact and
conclusions of law.

	The trial court has determined that trial counsel failed to timely file a notice of appeal.  We
find, therefore, that Applicant is entitled to the opportunity to file an out-of-time appeal of the
judgment of conviction in Cause No. W9912-1 from the 355th Judicial District Court of Hood
County.  Applicant is ordered returned to that time at which he may give a written notice of appeal
so that he may then, with the aid of counsel, obtain a meaningful appeal.  All time limits shall be
calculated as if the sentence had been imposed on the date on which the mandate of this Court issues. 
We hold that, should Applicant desire to prosecute an appeal, he must take affirmative steps to file
a written notice of appeal in the trial court within 30 days after the mandate of this Court issues.


Delivered: August 22, 2007

Do Not Publish


